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                                EXHIBIT COVER SHEET



                                                                              Exhibit

Party Submitting:    Mary Ida Townson, U.S. Trustee for Region 21


Admitted:            YES        or NO        (circle one)                           3


Chapter 11 Debtor:   Genie Investments NV, Inc.


Case No.             3:24−bk−00496−BAJ


Nature of Hearing:   Trial on

                     U.S. Trustee’s Motion to Appoint Chapter 11
                     Trustee, or, in the Alternative, Appoint
                     Examiner, Dismiss Case, or Convert Case to
                     Chapter 7 (Doc. No. 20)

                     Debtor’s Response Thereto (Doc. No. 34)

                     U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:          April 9, 2024, at 9:00 a.m.




                           United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                  www.flmb.uscourts.gov

In re:

Genie Investments NV, Inc.,                             Case No.: 3:24-bk-00496-BAJ
                                                        Chapter 11

                                                        Expedited Hearing Requested
                Debtor.
                                       /

 UNITED STATES TRUSTEE’S EXPEDITED MOTION TO APPOINT CHAPTER
11 TRUSTEE, OR, IN THE ALTERNATIVE, APPOINT AN EXAMINER, DISMISS
          THIS CASE, OR CONVERT THIS CASE TO CHAPTER 7

         Mary Ida Townson, United States Trustee for Region 21 (the “United States

Trustee”), by and through the undersigned counsel, moves for the appointment of a chapter

11 trustee, or, in the alternative, appoint an examiner, dismiss this case, or convert this case

to chapter 7. In support, the United States Trustee states as follows.

                              SUMMARY OF ARGUMENT

         The Court should not permit the debtor, Genie Investments NV, Inc. (“Debtor”), to

continue as a debtor-in-possession because the Debtor conducted fraudulent schemes against

small business owners. The Debtor offered its victims the prospect of loans with attractive

rates and no personal guarantees. Debtor conditioned funding on the small business owners

transferring money to the Debtor as prepaid interest. The Debtor then failed to fund the loans

and failed to return the money. According to its own admissions, the Debtor invested the

money received from the small business owners in a highly speculative scheme and lost most

of the funds. The Debtor’s conduct demonstrates dishonesty, incompetence, gross
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mismanagement, and risks harming the Debtor’s creditors further should the Debtor remain

a debtor-in-possession. Consequently, the Court should order the United States Trustee to

appoint a chapter 11 trustee in this case. In the alternative, the Court should appoint an

examiner, dismiss this case, or convert this case to proceed under chapter 7.

                                FACTUAL BACKGROUND

         1.      On February 21, 2024, (the “Petition Date”) the Debtor, Genie Investments

NV, Inc., filed a skeletal voluntary chapter 11 petition to initiate this case. (Doc. No. 1).

         2.      Shortly thereafter, a group of eighteen small business owners who organized

themselves through social media (collectively, the “Small Business Owners”), contacted the

United States Trustee. The Small Business Owners credibly allege that the Debtor is

involved in a scheme of fraud. The allegations in this motion are based upon interviews with

the members of the Small Business Owners and their signed statements, which are attached

to this motion as Composite Exhibit A.

         3.      As part of its fraudulent scheme, the Debtor and a co-conspirator entity

known as McMann Commercial Lending, LLC (“McMann”) would offer a loan program

they called the BELOC, which stands for “business expansion line of credit.” This loan

program was advertised as having below market interest rates and no personal guarantees –

a critical allure for any small business owner.

         4.      The Small Business Owners approached the BELOC program with a variety

of business objectives. One member of the Small Business Owners is a farmer who wished

to refinance the line of credit that secures his farm. 1 Another member is a real estate agent,


1
    See Exhibit A, Statement of Blake Stringer.



                                               2
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who due to her business success, sought to put her savings to work by combining a business

loan with buying an apartment building.2 Yet another member is the owner of a technology

company that develops a mental-health-oriented smartphone app, who sought to expand her

business. 3 In summary, the Small Business Owners were pursuing salutary business

objectives for which they needed capital.

         5.      Although the BELOC program appealed to the Small Business Owners, the

terms of the BELOC included one less-favorable provision. The Debtor informed the Small

Business Owners that, to prepay interest or for other manufactured reasons, they would need

to wire money into a so-called “ICA” or interest carry account. Based upon these

representations, the Small Business Owners each wired between $30,000 and $500,000 into

an ICA.

         6.      The Debtor did not fund the loans of the Small Business Owners, despite

having received their substantial payments through the ICA. Instead, the Debtor made a

litany of excuses. The Debtor hid behind contractual language or blamed McMann

Commercial and third-party “wholesale lenders” even though the Small Business Owners

were led to believe that the Debtor itself would be the capital provider. When the Small

Business Owners eventually asked for their money back, the Debtor refused. In summary,

the Debtor kept the Small Business Owners’ money and did not provide them with any

benefit.

         7.      The Small Business Owners suffered serious consequences resulting from



2
    See Exhibit A, Statement of Lea Muse.
3
    See Exhibit A, Statement of Lis Butkiewicz.



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losing their money to the Debtor. One of the Small Business Owners borrowed a total of

$30,000 from “Happy Money” and “Rocket Loans” under unfavorable terms to prepay the

fictious interest alleged by the Debtor. 4 Another of the Small Business Owners, a farmer,

had to file a personal bankruptcy case because he could not recover from the loss of $365,000

in working capital. 5 All the Small Business Owners suffered lost business opportunities.

       8.      The Debtor’s conduct has resulted in at least one lawsuit. North Haven

Lodging Partners, LLC and Willingford Lodging Partners, LLC (collectively the “Lodging

Partners”) filed a federal lawsuit against the Debtor. 6 The Lodging Partners allege that the

Debtor and McMann offered the Lodging Partners lines of credit totaling $36,000,000.

However, as a condition precedent, the Lodging Partners were required to transfer money to

the Debtor for “prepayment of interest” in the amount of $3.6 million. As with the Small

Business Owners, the Lodging Partners allege that the Debtor did not fund the loan and

wrongfully kept the Lodging Partners’ $3.6 million. Upon information and belief, the Debtor

filed this bankruptcy case to obtain a stay in the Lodging Partners litigation.

       9.      Recently, the Debtor filed a lawsuit in the Middle District of Florida (the

“Florida Fed. Lawsuit”) 7 wherein the Debtor attempts to explain the disposition of the Small

Business Owners’ and Lodging Partners’ money. In its complaint, 8 Debtor alleges that it



4
  See Exhibit A, Statement of Lea Muse.
5
   See Exhibit A, Statement of Blake Stringer and Case No. 24-2000-11 in the U.S.
Bankruptcy Court for the Northern District of Texas.
6
  See Case No. 1:23-cv-16264 in the Northern District of Illinois, which complaint is
attached hereto as Exhibit B. The Lodging Partners are not among the Small Business
Owners who contacted the United States Trustee.
7
  See Case No. 6:24-cv-00271 in the U.S. District Court for the Middle District of Florida.
8
  The complaint in the Florida Fed. Case is attached hereto as See Exhibit C.



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invested $9 million with an entity known as Velanos Principal Capital (“Velanos”). Velanos

promised that it would purchase and trade “standby letters of credit” to increase the Debtor’s

initial investment of $9 million to $75 million within sixty days, which, according to

Velanos, was a risk-free investment. See Exhibit C, at p. 2. Debtor claims that Velanos kept

the money, except for $500,000, which was refunded to the Debtor in May 2023. Id. at 3.

                                  LEGAL STANDARDS

        10.     The presumption in chapter 11 is that a debtor will continue managing its

own affairs during the duration of a case. “This presumption is based on the belief that the

debtor-in-possession is most knowledgeable about, and best able to run, the debtor's

business.” In re Sundale, Ltd., 400 B.R. 890, 899 (Bankr. S.D. Fla. 2009). “Nevertheless, in

the appropriate case, the appointment of a trustee is a power which is critical for the Court

to exercise in order to preserve the integrity of the bankruptcy process and to ensure that the

interests of creditors are served.” In re Matter of Intercat, Inc., 247 B.R. 911, 920 (Bankr.

S.D. Ga. 2000).

        11.     The Bankruptcy Code at 11 U.S.C. § 1104(a) provides two alternative

grounds for appointing a trustee, one mandatory and one discretionary. Section 1104(a)

states in pertinent part:

                (a) At any time after the commencement of the case but before
        confirmation of a plan, on request of a party in interest or the United States
        trustee, and after notice and a hearing, the court shall order the appointment
        of a trustee —

                    (1) for cause, including fraud, dishonesty, incompetence, or gross
                mismanagement of the affairs of the debtor by current management,
        either before or after the commencement of the case, or similar cause . . .; or




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                  (2) if such appointment is in the interest of creditors, any equity
       security holders, and other interests of the estate . . .

       12.     Subsection 1104(a)(1) is mandatory and § 1104(a)(2) is discretionary. “Once

the court finds that cause exists under § 1104(a)(1), there is no discretion; an independent

trustee must be appointed. Unlike subsection (a)(1), § 1104(a)(2) may well entail the exercise

of a spectrum of discretionary powers and equitable considerations, including a cost-benefit

analysis, to determine whether the appointment of a reorganization trustee would be in the

interests of creditors, equity security holders and other interests of the estate.” In re SunCruz

Casinos, LLC, 298 B.R. 821, 828–29 (Bankr. S.D. Fla. 2003) (internal citations and

quotations omitted). “Among the factors courts consider in determining whether to appoint

a chapter 11 trustee under § 1104(a)(2) are: (1) the trustworthiness of the debtor; (2) the

debtor's past and present performance and prospects for the debtor's reorganization; (3)

confidence, or lack thereof, of the business community and creditors in present management;

and (4) the benefits derived by appointment of a trustee, balanced against the costs of

appointment.” In re Keeley & Grabanski Land P'ship, 455 B.R. 153, 164–65 (B.A.P. 8th

Cir. 2011).

       13.     The movant bears the burden in seeking the appointment of a trustee.

Although Courts disagree on what burden of proof to apply, the better view is that Courts

should apply the “preponderance of the evidence” standard. Considering an analogous legal

standard, the Supreme Court has held that the appropriate standard of proof in § 727

litigation was “preponderance of the evidence,” notwithstanding the chapter 7 debtor’s

presumptive entitlement to a discharge. Grogan v. Garner, 498 U.S. 279 (1991). The same

standard should apply to chapter 11 trustee appointments, notwithstanding the chapter 11



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debtor’s presumptive entitlement to manage its own affairs. See Keeley, 455 B.R. at 163

(finding that the evidentiary standard for appointment of a chapter 11 trustee should be the

same as for § 727 discharge exceptions). But see Sundale, 400 B.R. at 899­900 (applying

clear and convincing standard).

       14.     If the Court does not appoint a trustee, the Court may in its discretion appoint

an examiner. 11 U.S.C. § 1104(c)(1). E.g., In re Hardy, 319 B.R. 5 (Bankr. M.D. Fla. 2004)

(appointing an examiner as an alternative to a chapter 11 trustee appointment). As a further

alternative, the Court may also dismiss or convert a case to chapter 7 for cause, whichever

is in the best interests of creditors. 11 U.S.C. § 1112. Grounds for dismissal or conversion

under § 1112 includes gross mismanagement of the estate and bad faith. 11 U.S.C. §

1112(b)(4)(B). In re 239 Worth Ave. Corp., 236 B.R. 492, 495 (Bankr. S.D. Fla. 1999)

(equating bad faith with “an intent to abuse the judicial process and the purposes of the

reorganization process, which may include the breach of a debtor's fiduciary duty.”)

                                       ARGUMENT

       15.     The appointment of a chapter 11 trustee is required in this case under both

the mandatory and discretionary prongs of 11 U.S.C. § 1104(a). The United States Trustee

addresses each prong in turn.

       16.     The appointment of a chapter 11 trustee is required, for cause, due to “fraud

and dishonesty” or, in the alternative, “incompetence and gross mismanagement.” The

Debtor engaged in a pattern of promising business loans with low interest rates and no

personal guarantees to induce victims, including the Small Business Owners and the

Lodging Partners, to advance funds for pre-payment of interest and for other manufactured




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motives. The Debtor then simply stole the Small Business Owners’ and the Lodging

Partners’ money. These actions constitute a dishonest and fraudulent scheme mandating the

appointment of a chapter 11 trustee.

       17.     In the alternative, the Debtor’s management is at least culpable of

incompetence and gross mismanagement. According to the Debtor’s own allegations in the

Florida Lawsuit, the Debtor paid $9 million dollars to an entity, Velanos, that promised to

provide a 800% return within sixty days at zero risk. The terms offered by Velanos were

obviously suspect because it is common knowledge that the sorts of investments that can

yield an 800% return in sixty days (e.g., cryptocurrency, options, or highly leveraged stock

purchases) come with a high risk of total loss. If the Debtor indeed made this investment

with Velanos, the transaction demonstrates the absence of sound, practical judgment and a

high degree of recklessness particularly because the investment was made with other

people’s money. This incompetence and gross mismanagement require the immediate

appointment of a chapter 11 trustee in this case.

       18.     The Court also should order the appointment of a chapter 11 trustee under §

1104(a)(2) as all the relevant factors support such an appointment. The first factor -

“trustworthiness of the debtor” - weighs strongly in favor of appointing a trustee because the

Debtor’s management admittedly made poor investment decisions and has been credibly

accused of fraud. The second factor - “the debtor's past and present performance and

prospects for the debtor's reorganization” - weighs strongly in favor of appointing a trustee

because the Debtor failed to fund numerous loans, admittedly lost large sums of money, and

whose incompetence and reckless disregard for other people’s money caused harm. The third




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factor is “confidence, or lack thereof, of the business community and creditors in present

management” An entire community of business owners fell victim to the Debtor’s fraud, as

demonstrated by composite Exhibit A, and they have no confidence in the Debtor’s

management. Finally, the fourth factor is “the benefits derived by appointment of a trustee,

balanced against the costs of appointment.” Although the value of the funds currently in the

Debtor’s possession is unknown, the benefits derived from appointing a trustee likely

outweighs the costs of appointment. The Debtor admitted to receiving $500,000 in May 2023

and can fund its attorney’s post-petition retainer. The recent implementation of subchapter

V has demonstrated that chapter 11 trustees can be cost-effective and successful. For these

reasons, the appointment of a trustee would be most beneficial for the estate. Thus, the Court

should use its discretionary authority to appoint a chapter 11 trustee in this case.

       19.     In the alternative, if the Court does not appoint a chapter 11 trustee, the Court

should appoint an examiner, dismiss this case, or convert this case to chapter 7. The same

discretionary factors that support appointing a chapter 11 trustee support the appointment of

an examiner. Likewise, if the Court is not inclined to appoint a chapter 11 trustee, the

Debtor’s gross mismanagement and bad faith abuse of the bankruptcy process warrants

dismissal or conversion to chapter 7.

                                        CONCLUSION

       The appointment of a chapter 11 trustee is necessary to protect the integrity of the

bankruptcy system. The Debtor’s management engaged in a scheme to defraud and

dishonestly target small business owners luring them with false promises of below market

business loans with attractive rates and no personal guarantees. The promotion and




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protection of small businesses is a critical component of the bankruptcy code and an entity

that defrauds small business owners should not continue as a debtor-in-possession. 9

        At a minimum, the Debtor engaged in “incompetence and gross mismanagement”

which requires the immediate appointment of a chapter 11 trustee. The Debtor admittedly

made a highly suspect investment with money provided by third parties to whom the Debtor

had outstanding obligations. This undisputed allegation was conceded by the Debtor in Court

filings. The Court should immediately order the United States Trustee to appoint a chapter

11 trustee in this case, dismiss this case, convert the case to chapter 7, or appoint an

examiner.

        WHEREFORE, the United States Trustee moves this Court for an order directing

the United States Trustee to appoint a chapter 11 trustee in this case, appoint an examiner in

this case, dismiss this case, convert this case to chapter 7, or for such other relief as the Court

deems appropriate.


Dated: March 5, 2024.                           Respectfully Submitted

                                                Mary Ida Townson
                                                United States Trustee for Region 21

                                                 /s/ Scott Bomkamp
                                                Scott Bomkamp, Trial Attorney
                                                Office of the United States Trustee
                                                U.S. Department of Justice
                                                400 W. Washington St., Suite 1100
                                                Orlando, FL 32801
                                                Telephone No.: (407) 648-6301, Ext. 150
                                                Facsimile No.: (407) 648-6323

9
 The exclusion of small business owners with primarily business debt from means testing
and the recent enaction of subchapter V are two examples of the bankruptcy code’s
promotion and protection of small business.



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                                             Email: scott.e.bomkamp@usdoj.gov
                                             Indiana Bar No.: 28475-49


                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was
served on March 5, 2024 on all parties appearing electronically via CM/ECF, or via First
Class United States mail on the following:


 Genie Investments NV, Inc.
 Attention: John Michael Cohan
 PO Box 60443
 Jacksonville, FL 32236

                                             /s/ Scott Bomkamp
                                             Scott Bomkamp, Trial Attorney




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                                     COMPOSITE EXHIBIT A




Lisa Butkiewicz
5434 E. Kathleen Rd.
Scottsdale, AZ
85254



                                TOTAL LOSSES TO DATE: $60,000
                                      Total recovered: $0




I, Lisa Butkiewicz of 5434 E. Kathleen Road, Scottsdale, Arizona, do hereby testify that David

Hughes, of Illinois working via his companies Zoomeral and Genie Investments NV, through his

broker Jessica Seithel of Scottsdale, AZ sent me an 85-page contract in October 2022. This

contract stated that Hughes was able to provide my business with a low interest non-recourse

line of credit in the amount of $3 million for a technology company.



As per the contract, Hughes asked me to wire him $60,000 to be held in an ICA account, for pre-

paid interest. The money was to be ‘safe’ in that account. The first tranche of capital was to be

wired to me within 75-90 days so was to be wired in January of 2023, THIS NEVER CAME

THROUGH. The second tranche was to be wired in the amount of $2.4 million in April of 2023.

THIS NEVER CAME THROUGH.



For months, it was excuse after excuse after excuse, and lie after lie. He knew full well he was

not going to fund anyone, and he committed massive securities fraud by taking the money from
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         Lisa Butkiewicz
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  From: Kris�n Stegent
  Date: March 1, 2024 at 8:46:15 PM EST
  To: "Bomkamp, Scot E. (USTP)" <Scot.E.Bomkamp@usdoj.gov>
  Subject: [EXTERNAL] Genie Investments Scam Statement

  Hi Scot,

  Here is my signed statement. Please let me know if you need anything else!

  Thanks,

  Kris�n Stegent
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The original contractual agreement from Mcmann explained and outlined that once the ICA
account was fully funded then we would receive a notice and at that point the “timeline” would
start on a 14-75 day period for the receipt of the first Tranche payment of 20% Of the total
loan. I was refinancing existing debt, and I was under an agreement with my current lenders to
wait for the funds to close the refinance process. The money never showed and after the 75
day Period and many many conversations of excuses and letters of the delays I had an
attorney that I had previously worked with who is a bankruptcy attorney from Fort Worth Texas
by the name of Jeff Prostok he served a letter of demand to Genie investments, and Mcmann
commercial lending group, we never got a satisfactory response from either party.
I later served a demand letter of civil theft from my attorney, Mr. John Lovell from Amarillo
Texas. This demand letter was to all parties both Mcmann and Genie and again no response.

Genie filed an arbitration suit against me and my entity some months later. That suit was
objected to and has been put in a position of stay due to my January 2, 2023 forced filing of
Chapter 11 bankruptcy in the Northern District of Texas. Case # 24-20000-11
I have listed Genie investments, and Mcmann commercial lending in my schedules, As a
claimant.
The plan is to list both these lenders as an adversarial and file suit in the bankruptcy case.
All of the above comments and writings are as of fact.



Blake Stringer
Nutra-Acres LLC
2/28/2024
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                                       COMPOSITE EXHIBIT A
From: D Wiker
Sent: Wednesday, February 28, 2024 10:18 AM
To: Bomkamp, Sco E. (USTP) <Sco .E.Bomkamp@usdoj.gov>
Subject: [EXTERNAL] Genie/McMann Fraud

Mr. Bomkamp

When I was introduced to David Hughes, it was through a woman named Michelle, a credit repair agent,
who informed me about financing op ons for a business line of credit. Ini ally, she a empted to charge
me $50,000 to ini ate the line of credit commitment through a Wyoming company named Star Enterprises
LLC. A er realizing Star Enterprises was a scam, I contacted David Hughes directly. He instructed me to fill
out informa on on the Zoomeral website, promising a swi provision of a term sheet and loan
commitment. He assured me that everyone gets funded, ci ng the use of a hedge fund for financing.

Subsequently, I paid upfront interest of $180,000 to finalize the LOC. However, David's a tude shi ed
drama cally a erward. He became rude, comba ve, and distanced himself from Genie, claiming they
were separate en es and that Genie had been defrauded, resul ng in a refusal to fund loans.

Later, I discovered they were s ll issuing term sheets under a diﬀerent profile, albeit with similar premises.
The only no ceable diﬀerence was the bank account for wiring funds, changing from Chase Bank to TD
Bank.

Recently, David Hughes contacted me, sta ng he was raising legal funds to reimburse my money. However,
he insisted that I wire him money first, equivalent to 10% of the previous amount sent. For instance, if I
sent $1,000, I could supposedly recover $10,000, and so forth.

I have all my correspondence if needed and access to their lending portal. I'd be happy to share my
creden als and you could interact with them directly under my profile.

Respec ully,
Doug Wiker
WW LLC
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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

         NORTH HAVEN LODGING PARTNERS                      )
         LLC, a South Dakota limited liability             )
         company, and WALLINGFORD LODGING                  )
         PARTNERS LLC, a South Dakota limited              )
         liability company,                                )
                                                           )
                                 Plaintiffs,               )   Case No. 1:23-cv-16264
                                                           )
                   vs.                                     )
                                                           )
         MCMANN COMMERCIAL LENDING                         )
         LLC n/k/a MCMANN PROFESSIONAL                     )
         SERVICES LLC and/or MCMANN                        )
         CAPITAL, an Illinois limited liability            )
         company, and GENIE INVESTMENTS NV,                )
         a Nevada corporation,                             )
                                                           )
                                 Defendants.               )
                                                           )

                                                   COMPLAINT

                  Plaintiffs, NORTH HAVEN LODGING PARTNERS LLC, a South Dakota limited

        liability company (“North Haven”), and WALLINGFORD LODGING PARTNERS LLC, a South

        Dakota limited liability company (“Wallingford”, together with North Haven, the “Plaintiffs”), for

        their complaint against Defendants, MCMANN COMMERCIAL LENDING LLC n/k/a

        MCMANN PROFESSIONAL SERVICES LLC and/or MCMANN CAPITAL, an Illinois limited

        liability company (“McMann”), and GENIE INVESTMENTS NV, a Nevada corporation

        (“Genie”), together with McMann, the “Defendants”), states as follows:

                                               NATURE OF ACTION

                  1.     Plaintiffs bring this action to recover $3,600,000 in funds that the Defendants have

        wrongfully withheld and willfully refused to return to the Plaintiffs despite both Defendants

        acknowledging orally and in writing that Plaintiffs are entitled to a return of the funds. At issue

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        are two $18,000,000 lines of credits made by McMann to the Plaintiffs. As part of the lines of

        credit, the Plaintiffs were obligated to, and did, prepay $1,800,000 in interest under each line of

        credit. At the direction of McMann, the Plaintiffs wired the prepaid interest directly to Genie to

        be held in trust and accounted for pursuant to the loan documents as prepaid interest to be applied

        against each of the lines of credit. No other use of the deposit funds was authorized by Plaintiffs.

        Pursuant to the loan documents, McMann and/or Genie was obligated to fund each of the lines of

        credit, yet McMann and/or Genie failed to do so. Pursuant to the loan documents, McMann and/or

        Genie was obligated to refund the prepaid interest payments if the lines of credit were not funded.

        The Plaintiffs have demanded return of the prepaid interest. Both Defendants have acknowledged

        orally and in writing that Genie received the funds and that the Plaintiffs are entitled to a return of

        the funds, yet each of the Defendants have failed to return any of the $3,600,000 to the Plaintiffs

        in an effort to defraud Plaintiffs.

                                                  THE PARTIES

                  2.    North Haven is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The members of

        North Haven are PB Corporation TN, a Georgia corporation with its principal place of business in

        Athens, Georgia, Hari Har Management, Inc. a South Dakota corporation with its principal place

        of business in Sioux Falls, South Dakota, and two individuals, who are residents of and domiciled

        in Connecticut.

                  3.    Wallingford is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The sole member of

        Wallingford is an individual who is a resident of and domiciled in South Dakota.

                  4.    McMann is an Illinois limited liability company with its principal place of business

        located at 205 N. Michigan Ave., Ste. 810, Chicago Illinois 60601 and its registered agent located

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        at 500 Skokie Blvd., Ste. 600, Northbrook, IL 60062. According to the Illinois Secretary of State

        records McMann changed its name to McMann Professional Services LLC and/or McMann

        Capital on or about August 4, 2023. Upon information and belief, none of the members of

        McMann are residents of, or domiciled in, Georgia, South Dakota, or Connecticut.

                  5.    Genie is a Nevada corporation with its principal address in Reno, Nevada.

                                        JURISDICTION AND VENUE

                  6.    This Court has diversity subject matter jurisdiction over this lawsuit under 28

        U.S.C. §§ 1332(a)(1) as this action is between citizens of different states and the matter in

        controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

                  7.    Plaintiffs are South Dakota limited liability companies whose members are citizens

        of Georgia, South Dakota, and/or Connecticut.

                  8.    Defendant McMann is an Illinois limited liability company and upon information

        and belief, and based upon a reasonable pre-suit investigation, none of the members of McMann

        are citizens of Georgia, South Dakota, or Connecticut.

                  9.    Defendant Genie is a Nevada corporation with its principal place of business in

        Reno, Nevada.

                  10.   This Court has personal jurisdiction over each of the parties to this matter. The

        Plaintiffs have conducted business with McMann, an Illinois limited liability company. The

        Defendants have conducted and presently conduct business in Illinois. McMann is an Illinois

        limited liability with its principal place of business in this state and in this district. Genie has

        conducted and presently conducts business in this state and in this district by conducting business

        for and on behalf of McMann both as related to the two lines of credit at issue and, upon

        information and belief, as to other loans made by McMann to other McMann borrowers. One of



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        Genie’s officers, David Hughes, who has directly interacted with Plaintiffs related to the lines of

        credit at issue, resides in the state of Illinois and has conducted business within this state as related

        to the two lines of credit, and upon information and belief related to other transactions with

        McMann. Genie is subject to personal jurisdiction in accordance with Illinois’ long-arm statute,

        which provides, in relevant part:

                         Any person, whether or not a citizen or resident of this State, who in
                         person or through an agent does any of the acts hereinafter
                         enumerated, thereby submits such person . . . to the jurisdiction of
                         the courts of this State as to any cause of action arising from the
                         doing of any of such acts: (1) The transaction of any business within
                         this State . . . .

        735 ILCS 5/2-209(a).

                  11.    This Court is the proper venue for this lawsuit under 28 U.S.C. § 1391(a) because

        the events giving rise to Plaintiff’s claim against the Defendants occurred in this judicial district.

                                                        FACTS

                                                Loan to North Haven

                  12.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to North Haven in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“North Haven Loan”).

                  13.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  14.    The North Haven Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“North Haven BELOC”) dated April 10, 2023 made by and between North

        Haven and McMann. Walter Trock executed the North Haven BELOC for McMann. A copy of

        the North Haven BELOC is attached as Exhibit 1.




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                  15.   The North Haven Loan is evidenced by that certain Promissory Note dated April

        10, 2023 in the principal amount of $18,600,000 (“North Haven Note”) made by North Haven in

        favor of McMann. The North Haven Note is attached to the North Haven BELOC as Exhibit A.

        See Ex. 1 North Haven BELOC, Ex. A.

                  16.   The North Haven Loan is secured by that certain Security Agreement dated April

        10, 2023 made by North Haven in favor of McMann (“North Haven Security Agreement”). The

        North Haven Security Agreement is attached to the North Haven BELOC as Exhibit E. See Ex. 1

        North Haven BELOC, Ex. E.

                  17.   The North Haven BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the North Haven Loan (“North Haven ICA Payment”).

                  18.   The North Haven BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the North Haven ICA Payment (“North Haven ICA”) so that

        interest payments on the North Haven Loan would first be satisfied by using the North Haven ICA

        Payment. See Ex. 1, North Haven BELOC, Recitals C, D; §3.5.

                  19.   The North Haven BELOC required McMann to fund the advances under the North

        Haven Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to occur

        within seventy-five (75) days of the ICA Payment. See Ex. 1, North Haven BELOC, §7.1 and Ex.

        B, Tranche Schedule.

                  20.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the North Haven Loan in accordance with the parties’

        agreements.

                  21.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        North Haven ICA Payment.



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                  22.    On April 10, 2023, McMann directed North Haven to wire the North Haven ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  23.    On April 10, 2023, North Haven wired the North Haven ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.

                  24.    Both McMann and Genie have confirmed in writing that Genie received the North

        Haven ICA Payment.

                                               Loan to Wallingford

                  25.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to Wallingford in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“Wallingford Loan”).

                  26.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  27.    The Wallingford Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“Wallingford BELOC” together with the North Haven BELOC, the

        “BELOCs”) dated April 10, 2023 made by and between Wallingford and McMann. Walter Trock

        executed the Wallingford BELOC for McMann. A copy of the Wallingford BELOC is attached as

        Exhibit 2.

                  28.    The Wallingford Loan is evidenced by that certain Promissory Note dated April 10,

        2023 in the principal amount of $18,600,000 (“Wallingford Note”) made by Wallingford in favor

        of McMann. The Wallingford Note is attached to the Wallingford BELOC as Exhibit A. See Ex.

        2, Wallingford BELOC, Ex. A.

                  29.    The Wallingford Loan is secured by that certain Security Agreement dated April

        10, 2023 made by Wallingford in favor of McMann (“Wallingford Security Agreement”). The

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        Wallingford Security Agreement is attached to the Wallingford BELOC as Exhibit E. See Ex. 2,

        Wallingford BELOC, Ex. E.

                  30.   The Wallingford BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the Wallingford Loan (“Wallingford ICA Payment” together with the North

        Haven ICA Payment, the “ICA Payments”).

                  31.   The Wallingford BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the Wallingford ICA Payment (“Wallingford ICA”) so that

        interest payments on the Wallingford Loan would first be satisfied by using the Wallingford ICA

        Payment. See Ex. 2, Wallingford BELOC, Recitals C, D; §3.5.

                  32.   The Wallingford BELOC required McMann to fund the advances under the

        Wallingford Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to

        occur within seventy-five (75) days of the ICA Payment. See Ex. 2, Wallingford BELOC, §7.1

        and Ex. B, Tranche Schedule.

                  33.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the Wallingford Loan in accordance with the parties’

        agreements.

                  34.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        Wallingford ICA Payment.

                  35.   On April 10, 2023, McMann directed Wallingford to wire the Wallingford ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  36.   On April 10, 2023, Wallingford wired the Wallingford ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.



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                  37.   Both McMann and Genie have confirmed in writing that Genie received the

        Wallingford ICA Payment.

        McMann’s Breach of the North Haven Loan and Wallingford Loan and Plaintiffs’ Demand
                                            for Refund

                  38.    McMann failed to fund both the North Haven Loan and Wallingford Loan as

        required by the BELOCs.

                  39.   The North Haven BELOC provides North Haven the right to terminate the

        agreement and demand refund of the North Haven ICA Payment in the event that McMann fails

        to timely fund the North Haven Loan. Specifically, Section 13.7(a) of the North Haven BELOC

        provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….

        Exhibit 1, §13.7(a) (emphasis added).

                  40.   The Wallingford BELOC provides Wallingford the right to terminate the agreement

        and demand refund of the Wallingford ICA Payment in the event that McMann fails to timely fund

        the Wallingford Loan. Specifically, Section 13.7(a) of the Wallingford BELOC provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….


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        Exhibit 2, §13.7(a) (emphasis added).

                  41.     On August 17, 2023, North Haven and Wallingford each tendered a Termination

        Letter for each of the North Haven Loan and Wallingford Loan pursuant to the BELOCs and

        demanded a refund of each of the ICA Payments (the “Termination Notices”). A copy of each of

        the Termination Letters is attached as Exhibit 3. The Termination Notices were provided to both

        McMann and Genie via a communication platform utilized by McMann and Genie called

        Zoomeral.

                  42.     Pursuant to the BELOCs, McMann was obligated to refund the ICA Payments on

        or before October 17, 2023.

                  43.     Upon information and belief, McMann did not have the loan funds to fund either

        the North Haven Loan or Wallingford Loan when it entered into the BELOCs.

                  44.     To date, McMann has failed to refund the North Haven ICA Payment and the

        Wallingford ICA Payment.

                        McMann Provides False Oral and Written Information to Plaintiffs

                  45.     Instead of refunding the ICA Payments as required by the loan documents,

        McMann has engaged in a series of false oral and written statements.

                  46.     On or about October 16, 2023, Walter Trock, Senior Managing Partner of McMann

        sent a series of text messages to Preet Patel, a representative of the Plaintiffs, in which Mr. Trock

        assured the Plaintiffs that McMann would obtain a refund from Genie for the Plaintiffs despite

        McMann’s own obligation to provide a refund to Plaintiffs.

                  47.     Mr. Trock also falsely stated to the Plaintiffs that this is the first time Genie has

        refused to refund money to a McMann borrower. As the Plaintiffs unfortunately learned later,




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        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                 48.     The Plaintiffs reasonably relied on McMann’s and Mr. Trock’s representations and

        actions and believed that McMann would obtain a refund of the ICA Payments.

                 49.     On October 24, 2023, counsel for McMann sent a demand letter to Genie

        demanding that Genie immediately refund the ICA Payments to Plaintiffs. A copy of the October

        24, 2023 letter is attached as Exhibit 4.

                 50.     The October 24, 2023 letter also makes a series of admissions that confirm

        Plaintiffs’ entitlement to the return of the ICA Payments and confirm McMann’s and Genie’s

        liability to the Plaintiffs.

                 51.     Specifically, McMann admits:

                         a.      Genie received payment of each of the ICA Payments on May 3, 2023;

                         b.      Genie was obligated to hold the ICA Payments in trust for the benefit of the
                                 Plaintiffs;

                         c.      The Plaintiffs properly terminated the BELOCs;

                         d.      The Plaintiffs properly exercised their rights under Section 13.7 of the
                                 BELOCs and demanded refund of the ICA Payments;

                         e.      The Plaintiffs have complied with every term of the BELOCs;

                         f.      Genie properly received notice of the Plaintiffs’ termination of the BELOCs
                                 and demand of refund of the ICA Payments;

                         g.      Genie admitted that the Plaintiffs’ are entitled to a refund of the ICA
                                 Payments;

                         h.      Genie promised to refund the refund of the ICA Payments on or before
                                 October 13, 2023; and

                         i.      The Plaintiffs are entitled to the immediate return of the ICA Payments and
                                 there is no legal or good faith basis that these funds should not be returned.



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                 52.   McMann has falsely stated orally and in writing that it will refund ICA Payments.

                 53.   Despite McMann’s written and oral representations, statements, assurances, and

        promises, McMann continues to refuse to refund the ICA Payments.

                 54.   The Plaintiffs reasonably relied on McMann’s continued assurances and promises

        that it will refund the ICA Payments and the Plaintiffs believed that McMann would obtain and

        issue a refund of the ICA Payments.

                       Genie and David Hughes Provides False Oral and Written Information to
                       Plaintiffs

                 55.   Genie has admitted and acknowledged orally and in writing that it received the ICA

        Payments.

                 56.   On August 18, 2023, the Plaintiffs provided Genie notice that the Plaintiffs

        exercised their rights under the BELOCs and terminated the agreements.

                 57.   On August 18, 2023, the Plaintiffs demanded a refund of the ICA Payments.

                 58.   Instead of refunding the ICA Payments as required, Genie, through its Director,

        David Hughes has engaged in a series of oral and written false statements to induce the Plaintiffs

        into believing that Genie will refund the ICA Payments.

                 59.   On September 14, 2023, Genie represented, in writing via Zoomeral, that it would

        refund the ICA Payments on October 13, 2023. See Exhibit E to Complaint Exhibit 4.

                 60.   Additionally, on October 11, 2023 David Hughes confirmed to Plaintiffs there was

        “nothing” to be done when asked by Preet Patel (representative of Plaintiffs) “nothing on our end

        left to do re: refund this week correct?”

                 61.   Genie and David Hughes also orally confirmed to the Plaintiffs that the Plaintiffs

        were entitled to the refund of the ICA Payments during multiple telephone discussions. The most

        recent confirmation of entitlement to a refund was provided during a October 17, 2023 telephone


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        discussion with David Hughes wherein Hughes assured Plaintiffs that Genie had never failed to

        make an ICA refund in the past. As the Plaintiffs unfortunately learned later, McMann and Genie

        have engaged in similar misconduct and apparent fraud for a host of other borrowers.

                 62.   Genie knew these representations were materially false when made because Genie

        did not have the funds to refund the ICA Payments. As the Plaintiffs unfortunately learned later,

        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                 63.   The Plaintiffs reasonably relied on Genie’s representations that it would refund the

        ICA Payments on October 13, 2023.

                 64.   Instead of refunding the payments on October 13, 2023, Genie, through its counsel

        Adam Walker of Walker Law Office, LLC sent a letter to the Plaintiffs for each of the loans

        alleging it is unable to refund the ICA Payments at this time because of “the ongoing failure of its

        capital provider to comply with its contractual obligations to provide funds to Genie.” A copy of

        the October 13, 2023 letters are attached as Group Exhibit 5.

                 65.   Genie’s October 13, 2023 letter is an admission that it unlawfully transferred the

        ICA Payments and did not hold those funds in trust for the benefit of the Plaintiffs are required by

        the BELOC and obligations delegated to Genie by McMann related to the ICA Payments.

                 66.   Specifically, Genie stated that it is working to “compel the capital provider to

        deliver the funds it owes, so that Genie can, in turn, provide refunds to its borrowers.” Ex. 5.

                 67.   In other words, Genie admitted that it no longer has the ICA Payments in its

        possession and control. Instead, Genie admits that it used the ICA Payments for an unauthorized

        purpose and was apparently relying on another third-party to pay funds to Genie and Genie would




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        then in turn pay those funds to the Plaintiffs for refund of the ICA Payments. Plaintiffs never

        authorized any other use of their funds other than to be held in trust pursuant to the BELOCs.

            McMann Misappropriates the ICA Payments and Violates its Fiduciary Duties to the
                                             Plaintiffs

                 68.   The BELOCs require McMann to hold the ICA Payments in trust to be used to

        repay the Loans pursuant to each of the BELOC agreements.

                 69.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment “purposes of satisfying interest payments under the LOC and

        upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                 70.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                 71.   McMann agreed to repay the ICA Payments within 40 business days of its default

        under the Loans. Exs. 1 and 2, §13.7(b).

                 72.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 73.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 74.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                       a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                       b.     Failing to establish the Interest Reserve Accounts;

                       c.     Failing to account for the ICA Payments on McMann’s books and records;


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                       d.      Failing to comply with the terms of the BELOCs; and

                       e.      Failing to return the ICA Payments as required by the BELOCs.

                 75.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                 76.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                 77.   The Plaintiffs reasonably relied on McMann and reasonably believed that McMann

        would honor its fiduciary duties to the Plaintiffs.

                 78.   As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.

        Genie Misappropriates the ICA Payments and Violates its Fiduciary Duties to the Plaintiffs

                 79.   Upon information and belief, Genie drafted and provided to McMann the loan

        documents for each of the North Haven and Wallingford Loans and directed McMann on how to

        use the loan documents. McMann and Genie were effectively partners in issuing the loans to

        Plaintiffs.

                 80.   Upon information and belief, Genie was aware of the terms of each of the Loans.

                 81.   Upon information and belief, Genie was aware that the ICA Payments were to be

        held in trust and safeguarded so the funds could be applied pursuant to the BELOCs and Genie

        directed that wiring instructions state that the ICA Payments were to be wired directly to Genie.




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                 82.    Upon information and belief, Genie agreed to hold the ICA Payments in trust and

        safeguard those funds for the benefit of Plaintiffs.

                 83.    Genie received each of the ICA Payments into Genie’s Chase Bank Account

        Number xxxxx8502 on or about May 3, 2023.

                 84.    Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 85.    Upon information and belief, Genie transferred the ICA Payments from its Chase

        Bank Account Number xxxxx8502 to another location, thus diverting and converting those funds.

                 86.    Genie did not hold the ICA Payments in trust so the funds could be applied pursuant

        to the BELOCs.

                 87.    Genie admits that it is obligated to return the ICA Payments to the Plaintiffs.

                 88.    Plaintiffs (and McMann) has demanded that Genie return the ICA Payments to the

        Plaintiffs.

                 89.    Genie promised to refund the ICA Payments by October 13, 2023.

                 90.    Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.      Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.      Failing to return the ICA Payments as it agreed to do and as directed by
                                McMann.

                 91.    The Plaintiffs reasonably relied on Genie and reasonably believed that Genie would

        honor its fiduciary duties to the Plaintiffs.

                 92.    As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.




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                                                  COUNT I
                                           BREACH OF CONTRACT
                                              (against McMann)

                 93.    The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 94.    The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 95.    Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 96.    The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 97.    Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 98.    McMann admits that the BELOCs are valid and binding agreements.

                 99.    McMann defaulted under the terms of the BELOCs.

                 100.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 101.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 102.   McMann has no legally recognized justification or excuse for breaching the

        BELOCs and Loan Documents.

                 103.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                 104.   The Plaintiffs are entitled to a return of the ICA Payments.

                 105.   McMann has breached the BELOCs and Loan Documents by, among other

        breaches:



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                        a.     Failing to fund each of the Loans;

                        b.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        c.     Failing to establish the Interest Reserve Accounts;

                        d.     Failing to account for the ICA Payments on McMann’s books and records;

                        e.     Failing to comply with the terms of the BELOCs; and

                        f.     Failing to refund the ICA Payments within 40 business days from receipt of
                               the Termination Notices.

                 106.   The Plaintiffs have been damaged as a result of each and every breach of the

        BELOCs and Loan Documents in an amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000 for McMann’s breach of the BELOCs and
                        Loan Documents;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                        BELOCs and applicable law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                    COUNT II
                                                 CONVERSION
                                                (against McMann)

                 107.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 108.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 109.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

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                 110.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 111.   The BELOCs require McMann to hold the ICA Payments in trust to be used solely

        to repay the Loans pursuant to each of the BELOC agreements.

                 112.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment for the “purposes of satisfying interest payments under the

        LOC and upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                 113.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                 114.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 115.   McMann admits that the BELOCs are valid and binding agreements.

                 116.   McMann admits that the Plaintiffs properly and fully paid the ICA Payments.

                 117.   McMann defaulted under the terms of the BELOCs.

                 118.   McMann has no legally recognized justification or excuse for breaching the

        BELOC and Loan Documents.

                 119.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                 120.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 121.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 122.   The Plaintiffs are entitled to a return of the ICA Payments.

                 123.   The Plaintiffs demanded return of the ICA Payments.



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                 124.   McMann is obligated to return the ICA Payments within 40 days of receipt of the

        Termination Notices.

                 125.   McMann has exercised unauthorized and wrongful assumption of control,

        dominion, or ownership of the ICA Payments.

                 126.   McMann has wrongfully refused to return the ICA Payments.

                 127.   The ICA Payments are the Plaintiffs lawful property.

                 128.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                 129.   McMann has unlawfully converted the ICA Payments. McMann’s conduct as

        alleged herein was willful and wanton and McMann acted with actual malice, fraud, and/or gross

        negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000 for McMann’s conversion of the ICA
                        Payments;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;


                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                        BELOCs and applicable law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                           COUNT III
                      TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                        (against McMann)

                 130.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

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                 131.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                 132.   After May 3, 2023, upon information and belief the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                 133.   740 ILCS 160/5 provides, in relevant part:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent
                        as to a creditor, whether the creditor’s claim arose before or after the
                        transfer was made or the obligation was incurred, if the debtor made
                        the transfer or incurred the obligation:

                           (1) with actual intent to hinder, delay, or defraud any creditor
                           of the debtor . . .
                               ....
                        (b) In determining actual intent under paragraph (1) of subsection
                        (a), consideration may be given, among other factors, to whether:
                           (1) the transfer or obligation was to an insider;
                           (2) the debtor retained possession or control of the property
                           transferred after the transfer;
                           (3) the transfer or obligation was disclosed or concealed;
                           (4) before the transfer was made or obligation was incurred, the
                           debtor had been sued or threatened with suit;
                           (5) the transfer was of substantially all the debtor's assets;
                           (6) the debtor absconded;
                           (7) the debtor removed or concealed assets;
                           (8) the value of the consideration received by the debtor was
                           reasonably equivalent to the value of the asset transferred or the
                           amount of the obligation incurred;
                           (9) the debtor was insolvent or became insolvent shortly after
                           the transfer was made or the obligation was incurred;
                           (10) the transfer occurred shortly before or shortly after a
                           substantial debt was incurred; and
                           (11) the debtor transferred the essential assets of the business to
                           a lienor who transferred the assets to an insider of the debtor.

                 134.   740 ILCS 106/8 provides:



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                        (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                        subject to the limitations in Section 9, may obtain:
                             (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                             creditor’s claim;
                             (2) an attachment or other provisional remedy against the asset transferred or
                             other property of the transferee in accordance with the procedure prescribed by
                             the Code of Civil Procedure;
                             (3) subject to applicable principles of equity and in accordance with applicable
                             rules of civil procedure,
                                (A) an injunction against further disposition by the debtor or a transferee,
                                or both, of the asset transferred or of other property;
                                (B) appointment of a receiver to take charge of the asset transferred or of
                                other property of the transferee; or
                                (C) any other relief the circumstances may require.
                        (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                        if the court so orders, may levy execution on the asset transferred or its proceeds.

                 135.   McMann’s transfer of the ICA Payments was a fraudulent conveyance because,

        among other reasons:

                        a.      The transfer was made with actual intent to hinder, delay, or defraud
                                McMann’s creditors, namely the Plaintiffs;

                        b.      Genie is an insider of McMann;

                        c.      The transfer was concealed from the Plaintiffs;

                        d.      The transfer was intended to conceal or remove McMann’s assets;

                        e.      Upon information and belief the value of the consideration received by
                                McMann in exchange for the transfer to Genie was not reasonably
                                equivalent to the assets transferred; in fact, McMann received no
                                consideration for the transfer; and

                        f.      McMann was insolvent or became insolvent shortly after the transfer as
                                evidenced by its inability to funds the Loans and return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:




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                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;

                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of McMann in accordance with the procedure prescribed
                        by the Illinois Code of Civil Procedures;

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                        conduct as alleged herein was willful and wanton and McMann acted with actual
                        malice, fraud, and/or gross negligence;

                 E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT IV
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                      (against McMann)

                 136.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 137.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                 138.   After May 3, 2023, upon information and belief, the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                 139.   740 ILCS 160/5(a)(2) provides, in relevant part:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                        creditor, whether the creditor’s claim arose before or after the transfer was
                        made or the obligation was incurred, if the debtor made the transfer or
                        incurred the obligation:
                                ***
                        (2) without receiving a reasonably equivalent value in exchange for the
                        transfer or obligation, and the debtor:




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                        (A) was engaged or was about to engage in a business or a transaction for
                        which the remaining assets of the debtor were unreasonably small in
                        relation to the business or transaction; or

                        (B) intended to incur, or believed or reasonably should have believed that
                        he would incur, debts beyond his ability to pay as they become due.

                 140.   740 ILCS 106/6(a) provides:

                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                        whose claim arose before the transfer was made or the obligation was incurred if
                        the debtor made the transfer or incurred the obligation without receiving a
                        reasonably equivalent value in exchange for the transfer or obligation and the
                        debtor was insolvent at that time or the debtor became insolvent as a result of the
                        transfer or obligation.

                 141.   The Plaintiffs’ claim arose before the transfer was made.

                 142.   Upon information and belief, the value of the consideration received by McMann

        in exchange for the transfer to Genie was not reasonably equivalent to the assets transferred; in

        fact, McMann received no consideration for the transfer.

                 143.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                 144.   McMann believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because McMann knew it could not fund the Loans and knew that Genie

        was an untrustworthy custodian of the ICA Payments.

                 145.   McMann was insolvent or became insolvent shortly after the transfer as evidenced

        by its inability to fund the Loans and return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;



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                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of McMann in accordance with the procedure prescribed
                        by the Illinois Code of Civil Procedures;

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                        conduct as alleged herein was willful and wanton and McMann acted with actual
                        malice, fraud, and/or gross negligence;

                 E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.     Grant the Plaintiffs such other relief as this Court deems just.



                                               COUNT V
                             FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                           (against McMann)

                 146.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 147.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                        a.      McMann’s ability to fund the Loans;

                        b.      McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                        c.      McMann’s ability and agreement to refund the ICA Payments, if and when
                                required.

                 148.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 149.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.



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                 150.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                 151.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                 152.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 153.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.

                 154.   As a direct and proximate result of McMann’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        McMann’s conduct as alleged herein was willful and wanton and McMann acted with actual

        malice, fraud, and/or gross negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding the Plaintiffs $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;

                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT VI
                                       BREACH OF FIDUCIARY DUTY
                                            (against McMann)

                 155.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.


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                 156.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                 157.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 158.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 159.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 160.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 161.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 162.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        b.     Failing to establish the Interest Reserve Accounts;

                        c.     Failing to account for the ICA Payments on McMann’s books and records;

                        d.     Failing to comply with the terms of the BELOCs; and

                        e.     Failing to return the ICA Payments as required by the BELOCs.

                 163.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.




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                 164.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                 165.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 166.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 167.   The Plaintiffs are entitled to a return of the ICA Payments.

                 168.   McMann has failed to return the ICA Payments.

                 169.   The Plaintiffs have been damaged as a result of McMann’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Awarding judgment in the amount of $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                 COUNT VII
                                            CONSTRUCTIVE TRUST
                                              (against McMann)

                 170.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                 171.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.


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                 172.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                 173.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                 174.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                 175.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 176.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                 177.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        b.     Failing to establish the Interest Reserve Accounts;

                        c.     Failing to account for the ICA Payments on McMann’s books and records;

                        d.     Failing to comply with the terms of the BELOCs; and

                        e.     Failing to return the ICA Payments as required by the BELOCs.

                 178.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                 179.   McMann was aware, prior to the transfer of the North Haven ICA Payment and the

        Wallingford ICA Payment, that Genie was not a trustworthy fiduciary because, upon information

        and belief, Genie and McMann previously refused and were unable to fund other loans and



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        previously refused and were unable to refund other similar prepaid interest payments for other

        McMann borrowers.

                 180.   McMann engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                 181.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                        a.     McMann’s ability to fund the Loans;

                        b.     McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                        c.     McMann’s ability and agreement to refund the ICA Payments, if and when
                               required.

                 182.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 183.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 184.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to entered into the Loans and pay the ICA Payments.

                 185.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                 186.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 187.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.




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                 188.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 189.   The Plaintiffs have fully performed all obligations under the BELOCs.

                 190.   The Plaintiffs are entitled to a return of the ICA Payments.

                 191.   McMann has failed to return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                 A.     Establishing a constructive trust for the ICA Payments in the amount of
                        $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                COUNT VIII
                                           BREACH OF CONTRACT
                                               (against Genie)

                 192.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 193.   Genie drafted the BELOCs and Loan Documents.

                 194.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 195.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 196.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 197.   Genie received payment of the ICA Payments.




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                 198.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 199.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 200.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 201.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 202.   McMann made demand on Genie for a return of the ICA Payments.

                 203.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 204.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 205.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 206.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                 207.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                 208.   The Plaintiffs have been damaged as a result of Genie’s breach of the oral and

        written agreements in an amount not less than $3,600,000.




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                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000 for Genie’s breach of the oral and written
                        agreements;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                    COUNT IX
                                                  CONVERSION
                                                  (against Genie)

                 209.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 210.   Genie drafted the BELOCs and Loan Documents.

                 211.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 212.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 213.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 214.   Genie received payment of the ICA Payments.

                 215.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 216.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.




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                 217.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 218.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 219.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 220.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 221.   McMann made demand on Genie for a return of the ICA Payments.

                 222.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 223.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 224.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 225.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                 226.   The Plaintiffs are entitled to a return of the ICA Payments.

                 227.   The Plaintiffs demanded return of the ICA Payments.

                 228.   Genie is obligated to return the ICA Payments.

                 229.   Genie has exercised unauthorized and wrongful assumption of control, dominion,

        or ownership of the ICA Payments.



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                  230.   Genie has wrongfully refused to return the ICA Payments.

                  231.   The ICA Payments are the Plaintiffs lawful property.

                  232.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                  233.   Genie has unlawfully converted the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000 for Genie’s conversion of the ICA Payments;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                            COUNT X
                       TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                          (against Genie)

                  234.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  235.   On or about May 3, 2023, Genie caused or directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  236.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  237.   740 ILCS 160/5 provides, in relevant part:


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                        (a) A transfer made or obligation incurred by a debtor is fraudulent
                        as to a creditor, whether the creditor’s claim arose before or after the
                        transfer was made or the obligation was incurred, if the debtor made
                        the transfer or incurred the obligation:

                           (1) with actual intent to hinder, delay, or defraud any creditor
                           of the debtor . . .
                               ....
                        (b) In determining actual intent under paragraph (1) of subsection
                        (a), consideration may be given, among other factors, to whether:
                           (1) the transfer or obligation was to an insider;
                           (2) the debtor retained possession or control of the property
                           transferred after the transfer;
                           (3) the transfer or obligation was disclosed or concealed;
                           (4) before the transfer was made or obligation was incurred, the
                           debtor had been sued or threatened with suit;
                           (5) the transfer was of substantially all the debtor's assets;
                           (6) the debtor absconded;
                           (7) the debtor removed or concealed assets;
                           (8) the value of the consideration received by the debtor was
                           reasonably equivalent to the value of the asset transferred or the
                           amount of the obligation incurred;
                           (9) the debtor was insolvent or became insolvent shortly after
                           the transfer was made or the obligation was incurred;
                           (10) the transfer occurred shortly before or shortly after a
                           substantial debt was incurred; and
                           (11) the debtor transferred the essential assets of the business to
                           a lienor who transferred the assets to an insider of the debtor.

                 238.   740 ILCS 106/8 provides:

                        (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                        subject to the limitations in Section 9, may obtain:
                            (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                            creditor’s claim;
                            (2) an attachment or other provisional remedy against the asset transferred or
                            other property of the transferee in accordance with the procedure prescribed by
                            the Code of Civil Procedure;
                            (3) subject to applicable principles of equity and in accordance with applicable
                            rules of civil procedure,

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                                (A) an injunction against further disposition by the debtor or a transferee,
                                or both, of the asset transferred or of other property;
                                (B) appointment of a receiver to take charge of the asset transferred or of
                                other property of the transferee; or
                                (C) any other relief the circumstances may require.
                         (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                         if the court so orders, may levy execution on the asset transferred or its proceeds.

                 239.    Genie’s transfer of the ICA Payments was a fraudulent conveyance because, among

        other reasons:

                         a.     The transfer was made with actual intent to hinder, delay, or defraud
                                Genie’s creditors, namely the Plaintiffs;

                         b.     Genie is an insider of McMann;

                         c.     The transfer was concealed from the Plaintiffs;

                         d.     The transfer was intended to conceal or remove Genie’s assets;

                         e.     Upon information and belief the value of the consideration received by
                                Genie in exchange for the transfer to Genie was not reasonably equivalent
                                to the assets transferred; in fact, Genie received no consideration for the
                                transfer; and

                         f.     Genie was insolvent or became insolvent shortly after the transfer as
                                evidenced by its inability to return the ICA Payments and the apparent
                                necessity of a third-party to pay Genie so Genie can refund the ICA
                                Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.      Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;

                 B.      Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of Genie in accordance with the procedure prescribed by
                         the Illinois Code of Civil Procedures;

                 C.      Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;



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                  D.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT XI
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                       (against Genie)

                  240.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  241.   On or about May 3, 2023, Genie caused and directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  242.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  243.   740 ILCS 160/5(a)(2) provides, in relevant part:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                         creditor, whether the creditor’s claim arose before or after the transfer was
                         made or the obligation was incurred, if the debtor made the transfer or
                         incurred the obligation:
                                 ***
                         (2) without receiving a reasonably equivalent value in exchange for the
                         transfer or obligation, and the debtor:

                         (A) was engaged or was about to engage in a business or a transaction for
                         which the remaining assets of the debtor were unreasonably small in
                         relation to the business or transaction; or

                         (B) intended to incur, or believed or reasonably should have believed that
                         he would incur, debts beyond his ability to pay as they become due.

                  244.   740 ILCS 106/6(a) provides:


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                        (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                        whose claim arose before the transfer was made or the obligation was incurred if
                        the debtor made the transfer or incurred the obligation without receiving a
                        reasonably equivalent value in exchange for the transfer or obligation and the
                        debtor was insolvent at that time or the debtor became insolvent as a result of the
                        transfer or obligation.

                 245.   The Plaintiffs’ claim arose before the transfer was made.

                 246.   Upon information and belief, the value of the consideration received by Genie in

        exchange for the transfer from Genie to an unknown source was not reasonably equivalent to the

        assets transferred; in fact, Genie received no consideration for the transfer.

                 247.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                 248.   Genie believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because Genie knew it could not refund the ICA Payments when the

        transfer was made.

                 249.   Genie was insolvent or became insolvent shortly after the transfer as evidenced by

        its inability to return the ICA Payments and the apparent necessity of a third-party to pay Genie so

        Genie can refund the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                        necessary to satisfy the Plaintiffs’ claim;

                 B.     Permitting an attachment or other provisional remedy against the transferred
                        funds or other property of Genie in accordance with the procedure prescribed by
                        the Illinois Code of Civil Procedures

                 C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;




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                 D.       Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                          as alleged herein was willful and wanton and Genie acted with actual malice,
                          fraud, and/or gross negligence;

                 E.       Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 F.       Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT XII
                               FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                              (against Genie)

                 250.     The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 251.     As alleged above, Genie induced the Plaintiffs to transfer the ICA Payments to

        Genie at the direction of Genie (through McMann) by use of false representations, including terms

        included in the BELOCs provided by Genie to McMann, that were materially false, including but

        not limited to:

                          a.      Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                          b.      Genie’s ability and agreement to refund the ICA Payments, if and when
                                  required.

                 252.     The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                 253.     Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 254.     Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                 255.     The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.




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                 256.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 257.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                 258.   As a direct and proximate result of Genie’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        Genie’s conduct as alleged herein was willful and wanton and Genie acted with actual malice,

        fraud, and/or gross negligence.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding punitive damages in an amount to be proven at trial;

                 D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 E.     Grant the Plaintiffs such other relief as this Court deems just.

                                              COUNT XIII
                                       BREACH OF FIDUCIARY DUTY
                                             (against Genie)

                 259.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 260.   Genie drafted the BELOCs and Loan Documents.

                 261.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 262.   Genie knew of and understood the terms of the BELOCs and Loan Documents.




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                 263.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 264.   Genie received payment of the ICA Payments.

                 265.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 266.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                 267.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 268.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 269.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 270.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 271.   McMann made demand on Genie for a return of the ICA Payments.

                 272.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 273.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.




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                 274.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.     Failing to return the ICA Payments as required by the BELOCs.

                 275.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 276.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements.

                 277.   The Plaintiffs are entitled to a return of the ICA Payments.

                 278.   Genie has failed to return the ICA Payments.

                 279.   The Plaintiffs have been damaged as a result of Genie’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding judgment in the amount of $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law;

                 D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                 COUNT XIV
                                            CONSTRUCTIVE TRUST
                                                (against Genie)

                 280.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 281.   Genie drafted the BELOCs and Loan Documents.


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                 282.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 283.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 284.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 285.   Genie received payment of the ICA Payments.

                 286.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 287.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 288.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 289.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 290.   McMann made demand on Genie for a return of the ICA Payments.

                 291.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                 292.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                 293.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                 294.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.



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                 295.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                 296.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                 297.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                 298.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 299.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.     Failing to return the ICA Payments as required by the BELOCs.

                 300.   Genie engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                 301.   As alleged above, Genie obtained payment of the ICA Payments by use of false

        oral and written statements that were materially false, including but not limited to:

                        a.     Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                        b.     Genie’s ability and agreement to refund the ICA Payments, if and when
                               required.

                 302.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.




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                 303.   Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                 304.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to pay the ICA Payments.

                 305.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.

                 306.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                 307.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                 308.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                 309.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements with Genie.

                 310.   The Plaintiffs are entitled to a return of the ICA Payments.

                 311.   Genie has failed to return the ICA Payments.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Establishing a constructive trust for the ICA Payments in the amount of
                        $3,600,000;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.



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                                                 COUNT XV
                                            UNJUST ENRICHMENT
                                                (against Genie)

                 312.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                 313.   Genie drafted the BELOCs and Loan Documents.

                 314.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                 315.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                 316.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                 317.   Genie received payment of the ICA Payments.

                 318.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                 319.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                 320.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                 321.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                 322.   McMann made demand on Genie for a return of the ICA Payments.

                 323.   Genie has refused to return the ICA Payments.

                 324.   By retaining the funds, Genie has unjustly retained the benefit of those funds to the

        detriment of the Plaintiffs.



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                 325.   The Plaintiffs are entitled to a return of the ICA Payments.

                 326.   The Plaintiffs demanded return of the ICA Payments.

                 327.   Genie is obligated to return the ICA Payments and has no legal or colorable right

        to keep the ICA Payments.

                 328.   Genie has wrongfully refused to return the ICA Payments.

                 329.   The ICA Payments are the Plaintiffs lawful property.

                 330.   Genie’s retention of the ICA Payments violates the fundamental principles of

        justice, equity, and good conscience.

                 WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                 A.     Awarding the Plaintiffs $3,600,000 for Genie’s unjust enrichment related to
                        retention of the ICA Payments;

                 B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                        permitted by Illinois law;

                 C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                 D.     Grant the Plaintiffs such other relief as this Court deems just.




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         Dated: November 27, 2023                     Respectfully submitted,


                                                      NORTH HAVEN LODGING PARTNERS
                                                      LLC and WALLINGFORD LODGING
                                                      PARTNERS LLC


                                                      By:      /s/ William J. McKenna
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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION



GENIE INVESTMENTS NV, LLC,
                                  Plaintiff,



v.                                                   Civil Action No.


JOSHUA WEARMOUTH, JAMES                              [Jury Trial Demanded]
WILLIAM BYRD, and NORDIC
TRUST ALLIANCE KB, LLC,
                              Defendants.



                                       COMPLAINT

       Plaintiff Genie Investments NV (Genie), by and through its attorneys, Spiegel & Utrera,

P.A., files this Complaint against Defendants Joshua Wearmouth, James William Byrd, and Nordic

Trust Alliance KB, LLC (Nordic Trust) and alleges, on knowledge at to its own actions, and

otherwise upon information and belief, that:


                                        SUMMARY

              In 2022 and 2023, Respondents Joshua Wearmouth and James Byrd,

directly and through Velanos Principal Capital (Velanos), an entity that

Wearmouth controlled, defrauded Plaintiff Genie Investments NV (Genie) out of

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$9.0 million using a type of scheme commonly referred to as a “prime bank” or

“advanced-fee” fraud.

             Wearmouth and Byrd represented to Genie verbally and in writing

that Wearmouth, through Velanos, could procure one or more standby letters of

credit (SBLCs), which Wearmouth would then sell at a significant profit in pre-

arranged trades. Wearmouth and Byrd told Genie that Wearmouth would use this

trading profit to procure one or more additional SBLCs, which Wearmouth would

again sell in pre-arranged trades, again at a significant profit.

             In October 2022, Wearmouth and Byrd told Genie that, if Genie

contributed $3.0 million to a joint venture with Velanos, Wearmouth would use

Genie’s capital to generate profits of many times the amount of the capital

contribution within 60 days. Wearmouth and Byrd subsequently told Genie that it

could increase its profit by making additional capital contributions.

             Based on these representations, Genie invested a total of $9 million in

a joint venture with Velanos. Wearmouth and Byrd represented that Genie would

receive a total of $75.0 million – comprising a return of its $9 million in capital

contributions plus $66 million in profit – by the end of 2022.

             Wearmouth and Byrd represented to Genie that the SBLC trading

presented no risk of loss to Genie’s capital contribution.




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              Wearmouth and Velanos never obtained SBLCs with Genie’s capital,

never earned any of the promised returns in a trading program, never paid any

profits to Genie, and never intended to do so. To date, Velanos has returned only

$500,000 of the $9 million invested by Genie.

              To keep the scheme going and to forestall legal action against them

and Velanos, Wearmouth, Byrd, and Defendant Nordic Trust Alliance KB (Nordic

Trust) made lulling statements to Genie, representing falsely that the trading

program was successful and/or that payments to Genie were imminent or had been

made.


                                      PARTIES

              Plaintiff Genie Investments NV (Genie) is a closely held corporation

organized and existing under the laws of the state of Nevada, with its principal

place of business in Reno, Nevada. Since 2021, Genie has been in the business of

providing financing to small and medium-sized businesses through lines of credit.

              Defendant Joshua Wearmouth is an individual who, on information

and belief, resides in Newport Beach, California, and is a citizen of the state of

California.

              Defendant James William Byrd is an individual who, on information

and belief, resides in Dallas, Texas, and is a citizen of the state of Texas.



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              Defendant Nordic Trust Alliance KB is a limited-liability company

that is organized under the laws of the state of Florida and that has its principal

place of business in Miami, Florida.


                          JURISDICTION AND VENUE

              This Court has original subject-matter jurisdiction of this action

pursuant to 18 U.S.C. § 1964(c) and 28 U.S.C. § 1331 because it concerns

violations of the Securities Act of 1933 (“the ’33 Act”), the Securities Exchange

Act of 1934 (“the ’34 Act”), and Exchange Act Rule 10b-5.

              This Court also has subject-matter jurisdiction pursuant to 28 U.S.C. §

1332 because the amount in controversy exceeds $75,000, exclusive of interest and

costs, and there is complete diversity of citizenship between Plaintiff and the

Defendants.

              This Court has jurisdiction over Plaintiff’s related state-law claims

pursuant to the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367.

              Defendants have, directly or indirectly, made use of the means or

instrumentalities of interstate commerce or of the mail in connection with the

transactions, acts, practices, and courses of business alleged in this complaint.

              Venue in this district is proper pursuant to Section 22(a) of the ’33

Act, 15 U.S.C. § 77v(a), and Section 27(a) of the ’34 Act, 15 U.S.C. § 78aa.

Among other things, certain of the acts, practices, and courses of business

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constituting the violations of the federal securities laws alleged herein occurred

within this district, including that Defendants directed misrepresentations and

deceptive conduct toward Genie representatives residing within this district.

             This Court has personal jurisdiction over Defendant Wearmouth

because Wearmouth purposefully directed actions at this forum in furtherance of

the SBLC scheme.

             This Court has personal jurisdiction over Defendant Byrd because

Byrd purposefully directed actions at this forum with respect to the SBLC Scheme.

             This Court has personal jurisdiction over Defendant Nordic Trust

Alliance because Nordic Trust Alliance maintains a place of business within this

district and purposefully directed its conduct at this forum with respect to the

SBLC Scheme.


                   DEFENDANTS’ PRIME BANK SCHEME

             In late 2023, Genie was seeking capital to lend to customers. Byrd,

who had previously acted as a finder for Genie, introduced Genie to Wearmouth,

who ran a business called Velanos Principal Capital (Velanos).

             Wearmouth and Byrd represented to Genie both verbally and in

writing that Wearmouth, through Velanos, regularly used financial instruments

known as standby letters of credit (SBLCs) to raise capital.



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                Wearmouth and Byrd told Genie that Wearmouth had specialized

experience, knowledge, and connections through allowed him to purchase SBLCs

at a discount and immediately sell them at a large profit in pre-arranged

transactions.

                Wearmouth proposed a joint venture between Genie and Velanos

whereby Velanos, using capital supplied by Genie, would initiate a series of SBLC

trades that would generate massive profits for Genie and Velanos (the SBLC

scheme).

                Byrd regularly acted as Wearmouth’s go-between in communications

with Genie concerning the SBLC scheme.

                Wearmouth and Byrd told Genie that Velanos would return Genie’s

principal and distribute profits to Genie of up to 800% of the principal investment

within 60 days.

                Wearmouth and Byrd assured Genie that the SBLC scheme posed no

risk of loss to Genie’s capital.

                Wearmouth also introduced Genie to a lawyer who, according to

Byrd, had experience with financing arrangements similar to the SBLC scheme.

Genie retained the lawyer to advise them about the proposed joint venture.




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             On or about October 19, 2022, Velanos and Genie executed a Joint

Venture Agreement (JVA) concerning the SLBC scheme. Wearmouth executed the

JVA on behalf of Velanos.

             The JVA required Genie to contribute $3.0 million in capital to the

joint venture, which Velanos would use to engage in a “Strategic

Capital/Systematic Purchase and Sell Transaction” involving SBLCs issued by

HSBC or other “Top Rated” issuers.

             The JVA also required Velanos to return Genie’s capital contribution,

plus half the profits generated through the transactions, within 60 days.

             Shortly after Genie and Velanos executed the JVA, Wearmouth and

Byrd told Genie that it could increase its capital contribution by an additional $3

million and, in exchange, would receive a guaranteed profit distribution of $50

million. Genie agreed and, on November 21, 2022, Genie and Velanos executed an

amendment to the JVA (First JVA Amendment) providing that Genie would

increase its capital contribution to $6.0 million and that, in return, Velanos would

increase Genie’s profit to $50 million dollars.

             The First JVA Amendment did not change any terms of the JVA

besides the amounts of (a) Genie’s capital contribution and (b) its profit

participation.




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             Shortly after the First JVA Amendment, Wearmouth and Byrd again

offered to increase Genie’s profit from the JVA, to a total of $66 million, in

exchange for an additional $3 million capital contribution.

             Genie agreed and provided Velanos an additional $3 million, bringing

its total capital contribution to the joint venture to $9.0 million.

             Although the parties did not memorialize Genie’s third $3 million

payment with a formal amendment to the JVA, correspondence from both

Wearmouth and Byrd reflected the updated terms of the agreement – namely, that

Genie would receive a total of $66 million in profits, in addition to the return of its

$9 million in capital, by mid-January 2023.

             Velanos and Wearmouth never paid Genie any of the profits promised

in the JVA and has returned barely 5% of Genie’s capital contributions.

             Since January 2023, Wearmouth and Byrd have repeatedly and falsely

represented that Wearmouth transferred or initiated transfers of multimillion-dollar

payments to Genie.

             On or about January 24, 2023, Wearmouth provided Genie with a

screenshot of an email that Wearmouth supposedly received from a person

identified only as “Simon,” who, according to Wearmouth, was a banker with

HSBC Bank. The email stated that Velanos had more than 349 million Euros on

account with HSBC Bank in London and provided an account number. Wearmouth


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asserted that this amount included the profits realized from the Genie-Velanos joint

venture’s trading activity.

             Approximately three days later, Velanos provided Genie with

photographs and a screenshot that appeared to show a $10.0 million wire transfer

from a ScotiaBank account to Genie’s account at Chase Bank.

             In March 2023, Wearmouth falsely told Genie in writing that the

$10.0 million wire transfer he supposedly initiated on January 27, 2023, was being

held up by Wells Fargo Bank, which he described as the “corresponding bank” for

the wire transfer.

             In the same letter, Wearmouth falsely claimed that profits from

trading conducted using Genie’s $9.0 million in capital were “being held at HSBC,

UK under a sub account…” and that Velanos would need to open a “master”

account with HSBC to access the trading profits in the subaccount.

             In early June 2023, Wearmouth and Byrd proposed that Genie agree

to an amendment of the JVA. The proposal, as memorialized in a “Second

Amendment to Joint Venture Agreement” (Second JVA Amendment), was for

Velanos to (1) “facilitate the opening of a commercial bank account” in Genie’s

name at Nordic Trust Alliance KB (Nordic Trust) in Miami, Florida, (2) deposit

$9.5 million into Genie’s Nordic Trust account on or before June 15, 2023, and (3)




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deposit an additional $50.0 million into Genie’s Nordic Trust account on or before

June 30, 2023.

             The parties executed the Second JVA Amendment on June 3, 2023.

Shortly afterward, Genie received notice that its Nordic Trust account had been

established and that it had access to an online account portal (Portal). On June 20,

2023, according to the Portal, Velanos transferred $9.5 million into Genie’s Nordic

Trust Account. Genie promptly instructed Nordic to wire the $9.5 million to its

checking account at Chase Bank. That transfer never happened, however, and the

Portal showed that Nordic Trust canceled the request as of June 29, 2023.

             On June 30, 2023, Genie attempted to initiate a transfer of $9.4

million from its Nordic Trust account to its Chase account. Although the Portal

showed that this transaction was executed – the Portal thereafter reflected a

remaining balance of $100,000 in Genie’s account – no money ever transferred to

Genie’s Chase account from Nordic Trust.

             Genie sent multiple requests through the Portal for information from

Nordic Trust about the status of its outgoing wire transfers. The only responses it

received were non-substantive. When Genie asked to speak with an individual so

that it could arrange to visit Nordic in Florida and withdraw the money in person, it

received no reply at all. Shortly thereafter, Genie lost its ability to view account-

related information through the Portal.


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             On information and belief, Nordic Trust is not a legitimate bank,

never held any funds in Genie’s name, and knowingly participated in Wearmouth’s

and Byrd’s efforts to forestall legal action against Wearmouth, Byrd, and others by

convincing Genie that it would imminently receive a portion of the promised

SBLC scheme proceeds.

             From late 2022 to mid-2023, Genie entered various agreements to

provide lines of credit to customers and did so in reliance on Defendants’ false

promises and misrepresentations that Genie would soon receive some or all of the

promised proceeds from the SBLC scheme.

             Genie’s reliance on these false statements and misrepresentations was

reasonable given the lengths Defendants went to give their false statements and

misrepresentations an air of legitimacy. In addition, Genie’s attorney at the time

did not advise Genie that there was any reason to question the validity of either the

SBLC scheme or any of the Defendants’ subsequent statements about Velanos’

ability and intention to distribute profits to Genie and return its capital

contributions.

             Genie relied on Defendants’ false statements and misrepresentations

to its substantial detriment, in that it was ultimately unable to provide the financing

it had promised to numerous customers, which in turn led to an avalanche of

terminations, refund requests, demand letters, disparaging public statements, and


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legal actions against Genie. In addition, Defendants’ false statements and

misrepresentations, and Genie’s detrimental reliance on them, have made it

impossible for Genie to enter into new lending arrangements with customers.

             Other than a $500,000 payment it received in or about May 2023,

Genie has never received any return of its capital contributions. It has never

received any of the promised profits from the joint venture.


                           FIRST CLAIM FOR RELIEF

              Violations of Section 10(b) of the Exchange Act and
             Exchange Act Rules 10b-5(a) and (c) – All Defendants
             Genie realleges and incorporates by reference its allegations in

Paragraphs 1 through 50.

             During 2022 and 2023, Defendants Wearmouth, Byrd, and Nordic

Trust, in the purchase or sale of the securities described herein, by the use of means

and instruments of transportation and communication in interstate commerce and

by use of the mail, directly and indirectly:

             a.     employed devices, schemes, and artifices to defraud,

             b.     made untrue statements of material facts and/or omitted to state

      material facts necessary in order to make the statements made, in light of the

      circumstances under which they were made, not misleading, and




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             c.     engaged in acts, practices, and courses of business which would

      and did operate as a fraud and deceit upon the purchasers of such securities,

      all as more particularly described above.

             Defendants Wearmouth, Byrd, and Nordic Trust made these

misrepresentations and omissions of material fact with scienter – that is, with an

intent to deceive, manipulate, or defraud, or with a severely reckless disregard for

the truth by inducing Genie’s investment in the SBLC scheme while having no

intention of using Genie’s funds to carry out any legitimate trading of securities or

other financial instruments.

             Genie relied on the misrepresentations and omissions of Wearmouth,

Byrd, and Nordic Trust, both in contributing capital to the putative Genie-Velanos

joint venture and in delaying legal action against the Defendants and others.

             Defendants carried out their fraudulent and deceptive acts using

means or instrumentalities of interstate commerce. Defendants used interstate

electronic messages and telephone communication to propose the SBLC scheme,

to induce Genie’s participation in the joint venture, and to communicate with

Genie about why Genie did not receive either the promised profits or a return of its

capital contributions.




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             As a direct and proximate result of the Defendants’ conduct described

herein, Genie has suffered economic loss in that it has been deprived of the benefit

of its bargain and has suffered lost profits and consequential damages.

             Through the Defendants’ conduct described herein, Wearmouth, Byrd,

and Nordic Trust willfully violated Section 10(b) of the Exchange Act and

Exchange Act Rule 10b-5.


                        SECOND CLAIM FOR RELIEF

             California Corp. Code § 25401 – Against Wearmouth
                                  and Byrd
             Genie realleges and incorporates by reference its allegations in

Paragraphs 1 through 50.

             During 2022 and 2023, Defendants Wearmouth and Byrd, in the offer

and sale of the securities described herein in and/or from the State of California,

made untrue statements and/or misrepresentations of material fact to Genie. The

false statements and misrepresentations included, without limitation:

             a.    Wearmouth and Byrd falsely stated that SBLCs were tradable

      instruments and that the SBLC scheme was a legitimate investment program

      that presented no risk of loss to Genie’s capital,

             b.    Wearmouth and Byrd represented that Genie’s capital

      contributions would be returned after the contributions were used to


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      purchase and trade SBLCs, when in fact, Defendants never returned Genie’s

      investment principal and, on information and belief, never used Genie’s

      capital contributions to purchase and trade SBLCs, and

             c.     Wearmouth and Byrd represented that the SBLC scheme would

      generate significant profits and that Genie would receive a guaranteed profit

      of $66.0 million in addition to the return of its capital contributions.

             The misstatements and omissions referred to herein concerned

“material facts” within the meaning of the California Corporations Code section

25401.

             As a result of the Defendants’ conduct described herein, Genie has

been damaged in an amount to be determined at trial, but not less than $10 million.

             Through the conduct described herein, Defendants Wearmouth and

Byrd violated California Corporations Code section 25401.


                         THIRD CLAIM FOR RELIEF

                  Common-Law Fraud – Against All Defendants
             Genie realleges and incorporates by reference its allegations in

Paragraphs 1 through 50.

             As alleged above, Defendants Wearmouth, Byrd, and Nordic Trust

made false written and verbal statements and/or material omissions of material fact

to Genie, including but not limited to:


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                a.    Wearmouth’s ability to purchase SBLCs and resell them for a

      profit;

                b.    The legitimacy of any investment strategy involving trading

      SBLCs;

                c.    Wearmouth’s intention to pay Genie the promised profits and to

      return Genie’s capital contributions;

                d.    Wearmouth’s knowledge and experience trading SBLCs;

                e.    Attempts by Wearmouth/Velanos to issue payments to Genie

      between January 2023 and the present;

                f.    Nordic Trust’s legitimacy as a bank and its ability to accept

      deposits and process withdrawals.

                The statements and/or omissions were false when made and were in

service of an actual fraud.

                Wearmouth and Byrd knew that the representations were untrue

and/or that the omissions were misleading.

                Wearmouth and Byrd made each of the aforementioned

misrepresentations and omissions with the intent that Genie would rely on them in

deciding to contribute capital to the joint venture and/or to refrain from bringing

legal action against Velanos, Wearmouth, Byrd, and others.




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               Genie did, in fact, rely on the aforementioned misrepresentations and

omissions when it contributed $9.0 million in capital to the joint venture and when

it refrained from bringing legal action for several months after Wearmouth and

Velanos failed to return those capital contributions and distribute promised profits

on schedule.

               But for Wearmouth’s and Byrd’s material omissions and

misrepresentations alleged above, Genie would not have contributed capital to the

joint venture with Velanos and would have brought legal action against

Wearmouth, Byrd, and others long ago.

               Genie’s reliance upon Wearmouth’s and Byrd’s material omissions

and misrepresentations of fact was reasonable.

               Wearmouth’s and Byrd’s material omissions and misrepresentations

of fact have damaged Genie in an amount in excess of $10 million, with the exact

amount of damages to be determined at trial.

               Wearmouth’s and Byrd’s conduct alleged herein was willful and

wanton and they acted with actual malice, fraud, and/or gross negligence.


                                  PRAYER FOR RELIEF

       WHEREFORE, Genie respectfully requests that this Court enter a judgment against

Defendants, granting Plaintiff the following relief:




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            • The entry of judgment in favor of the Genie on each and every
              cause of action;

            • The award of actual, consequential, and statutory damages in an
              amount to be established at trial, but not less than $10 million;

            • The award of punitive damages in an amount to be established at
              trial;

            • The award of costs of the suit and attorney’s fees; and

            • Such other relief as the Court deems just and proper.

                         DEMAND FOR TRIAL BY JURY

     Genie demands a trial by jury on all issues that are so triable.




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Dated: 2-6-2024
Respectfully submitted,


/s/ Michael Faragalla
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                      CERTIFICATE OF SERVICE




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